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           IN THE UNITED STATES DISTRICT COURT FOR THE
                 MIDDLE DISTRICT OF PENNSYLVANIA

THE PENNSYLVANIA STATE
UNIVERSITY,

             Plaintiff and            Case No. 4:21-cv-01091-MWB
             Counter-Claim Defendant, (Judge Matthew W. Brann)

      v.                               JURY TRIAL DEMANDED

VINTAGE BRAND, LLC,

             Defendant and
             Counter-Claim Plaintiff

and

SPORTSWEAR INC. d/b/a PREP
SPORTWEAR; CHAD
HARTVIGSON; ERIK
HARTVIGSON; and MICHELLE
YOUNG,

             Defendants.

  BRIEF IN SUPPORT OF DEFENDANT VINTAGE BRAND, LLC’S
MOTION FOR RECONSIDERATION AND CLARIFICATION OF DKTS.
                       194 AND 195


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I.      INTRODUCTION: RELIEF AS TO AFFIRMATIVE DEFENSE NO. 8

              Defendant Vintage Brand, LLC (“Vintage Brand”) respectfully requests that

     the Court reconsider its ruling granting summary judgment to Plaintiff, The

     Pennsylvania State University (“University”), on Vintage Brand’s Affirmative

     Defense Eight and clarify the scope of the Court’s rulings on Affirmative Defenses

     Seven and Eight.

       II.         STATEMENT OF FACTS AND PROCEDURAL HISTORY

              The February 6, 2024 Order granted the University’s motion for summary

     judgment “as to Vintage Brand’s Affirmative Defenses Seven and Eight, but only as

     to incontestable registrations.” Doc. 195 at 2, ¶ 7.a; see also Doc. 194 at 102–103.

     Affirmative Defense Eight alleged that:

              Penn State’s claims are barred and/or limited where Vintage Brand’s
              application of the text and designs described in the Second Amended
              Complaint to merchandise is merely ornamental and does not engender the
              commercial impression of a source-identifying trademark.

     Doc. 72 at 40.

                   III.   STATEMENT OF QUESTIONS INVOLVED

              1.     Whether the Court should reconsider its Order granting summary

     judgment to the University on Vintage Brand’s Affirmative Defense Eight.

              2.     Whether the Court should clarify that its Order is limited to Vintage

     Brand’s affirmative defense(s) to the extent they target the validity of the marks at

     issue.
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      Suggested Answer: Yes, the Court should reconsider its Order as to both

questions involved.

                 IV.      AUTHORITY AND ARGUMENT

      Vintage Brand recognizes that a “motion for reconsideration is a device of

limited utility” but that such a motion “is appropriate where the court has

‘misunderstood a party, or has made a decision outside the adversarial issues

presented to the court by parties, or has made an error not of reasoning, but of

apprehension.’” Lombardo v. Flynn, No. 3:11-CV-2220, 2017 WL 11716379, at *1

(M.D. Pa. Nov. 13, 2017). Vintage Brand respectfully requests reconsideration

and/or clarification because the Court’s ruling may have conflated Affirmative

Defenses Seven and Eight, reflecting a misunderstanding of the purposes of those

two different defenses.

      The University’s summary judgment motion sought to bar Vintage Brand

from “asserting invalidity based on ‘mere ornamentation’ for those University Marks

where Penn State owns incontestable registrations.” Doc. 114 at 43 (emphasis

added); see also Doc. 143 at 16. The University’s emphasis on incontestability could

only relate to defenses that attack the validity of its marks because incontestability

is only relevant to the validity of a mark. 15 U.S.C. § 1115; MCCARTHY ON

TRADEMARKS AND UNFAIR COMPETITION § 32:155 (5th ed. 2023) (“The

status of incontestability relates solely to the validity of the registered mark.”). The


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plaintiff in a trademark infringement case always bears the burden of proving

infringement, regardless of the registration status of its asserted mark(s). KP

Permanent Make-Up, Inc. v. Lasting Impression I, Inc., 543 U.S. 111, 118 (2004).

      The Court’s ruling on the University’s motion with respect to Affirmative

Defenses Seven and Eight was limited to the University’s incontestable registrations,

and the Order focused on the validity of the University’s asserted marks:

      as discussed with regard to Vintage Brand’s motion for summary
      judgment, the marks that Penn State seeks to enforce—save for the
      Pozniak Lion Design—are incontestable, and Vintage Brand cannot
      challenge Penn State’s trademark infringement claims “on the ground
      that [the marks] are merely” ornamental. Summary judgment is
      therefore appropriate as to Vintage Brand’s Affirmative Defenses
      Seven and Eight.

Doc. 194 at 102; see also Doc. 194 at 55 (“Incontestable registrations may only be

challenged on limited grounds, and a defendant cannot defend against trademark

infringement claims for incontestable registrations ‘on the ground that they are

merely’ ornamental. Therefore, Vintage Brand is prohibited from presenting this

defense as to most of Penn State’s marks at issue in this case.”1). For these

conclusions, the Court relied upon Marketquest Grp., Inc. v. BIC Corp., 316 F. Supp.

3d 1234, 1264 (S.D. Cal. 2018), which describes the limited grounds on which the

validity of an incontestably-registered mark can be challenged.

1
 The Court’s reference to “this defense” suggests that it may have been discussing
only one defense, i.e., Affirmative Defense Seven, not two defenses (Doc. 194 at
55).

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      While Vintage Brand’s Affirmative Defense Seven challenges the validity of

the University’s marks, making incontestability relevant to that defense,2

Affirmative Defense Eight, focuses on Vintage Brand’s use, asserting that Vintage

Brand’s non-trademark, ornamental use of its historic images is not infringing of any

valid rights owned by the University. See Doc. 72 at 40; see also Doc. 115 at 22

(“Even if the University’s marks are valid, its claims fail because Vintage Brand

does not use the composite images as trademarks.”). Because the University

unequivocally has the burden of proving infringement even with respect to

incontestably-registered marks, the incontestable status of any of its registrations is

irrelevant to Affirmative Defense Eight.

      Vintage Brand seeks reconsideration of the University’s motion with respect

to Affirmative Defense Eight. In the alternative, Vintage Brand seeks clarification

that the Order is limited to Vintage Brand’s defense(s) to the extent they challenge

the validity of the University’s asserted marks, and that the Order does not preclude

Vintage Brand from arguing that the University’s claims fail because Vintage




2
  Incontestability is not absolute, and 15 U.S.C. § 1115 lists several grounds on
which an incontestably registered mark can still be challenged. Vintage Brand
respectfully maintains that the University’s ornamental use of the asserted marks
means that the University has not continued to make legally-relevant use of those
marks in the context of merchandise. But Vintage Brand does not seek
reconsideration of the Court’s ruling with respect to Affirmative Defense Seven.
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Brand’s use of its historic images is ornamental, which has relevance for the

likelihood of confusion analysis as well as for aesthetic functionality.

      The Court has concluded that it is Plaintiff’s burden to prove likelihood of

confusion, even when a registration is incontestable. Doc. 194 at 70. The Court has

also ruled that there is a genuine issue of material fact as to whether the marks are

aesthetically functional. Doc. 194 at 69. At trial, Vintage Brand expects to argue,

inter alia, that the parties’ ornamental use of the alleged marks at issue affects the

likelihood of confusion and aesthetic functionality determinations. Vintage Brand

understands that such arguments would not be barred by the Court’s Order, and seeks

clarification to confirm that understanding.3 Vintage Brand requests this clarification

in the interest of avoiding future disputes about interpretation of the Order, and

Vintage Brand believes resolution of these issues closer in time to issuance of the

Court’s rulings will promote a more efficient use of time and resources.



Dated: February 20, 2024                Respectfully submitted,

                                        By: /s/ Valerie A. Walker
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  The Court’s remarks at the August hearing appear consistent with Vintage Brand’s
interpretation. See Transcript of Proceedings, Aug. 29, 2023, at 237:18–23 (“My
understanding is that even though a party cannot use a non-statutory defense, such
as ornamentality to cancel an incontestable registration, the party may still escape
liability for trademark infringement by showing that in that particular case,
consumers do not associate the infringed mark with a trademark purpose.”)
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      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.8(b)

      The undersigned certifies that Defendants’ Brief in Support of its Motion for

Reconsideration complies with the length limits set forth in Local Rule 7.8(b).



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                        CERTIFICATE OF SERVICE

      I, Jodi S.Wilenzik, Esquire hereby state that a true and correct copy of the
foregoing was served via the USDC Middle District of Pennsylvania E-Filing
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